        Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 1 of 69




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                      )
SECURITIES AND EXCHANGE COMMISSION,   )
                                      )
        Plaintiff                     )
                                      )
     v.                               )
                                      )
GREGORY LEMELSON and LEMELSON CAPITAL )
                                                           Civil Action No. 1:18-cv-11926-PBS
MANAGEMENT, LLC,                      )
                                      )
        Defendants,                   )
                                      )
  and                                 )
                                      )
THE AMVONA FUND, LP,                  )
                                      )
        Relief Defendant              )
                                      )

                      DEFENDANTS’ PROPOSED JURY INSTRUCTIONS

       Pursuant to this Court’s Order for Pretrial Conference (ECF No. 147) Defendants Father

Emmanuel Lemelson (f/k/a Gregory Lemelson), Lemelson Capital Management, LLC, and the

Amvona Fund, LP submit the following proposed jury instructions. Defendants reserve the

opportunity to submit additional or modified instructions if necessary.

       Defendants submit their proposed jury instruction in two parts:

       Part I contains Defendants’ proposed preliminary instructions, to be given at the

beginning of trial.

       Part II contains Defendants’ proposed closing instructions, to be given at the close of the

evidence.
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 2 of 69




I.         PRELIMINARY INSTRUCTIONS—AT BEGINNING OF TRIAL

           Defendants respectfully request that the Court give the following instructions at the

beginning of trial.

                                     PRELIMINARY REQUEST NO. 1

                                                 Duties of the Jury 1

           Ladies and gentlemen: You now are the jury in this case, and I want to take a few

minutes to tell you something about your duties as jurors and to give you some instructions. At

the end of the trial I will give you more detailed instructions. Those instructions will control

your deliberations.

           It will be your duty to decide from the evidence what the facts are. You, and you alone,

are the judges of the facts. You will hear the evidence, decide what the facts are, and then apply

those facts to the law I give to you. That is how you will reach your verdict. In doing so you

must follow that law whether you agree with it or not. The evidence will consist of the

testimony of witnesses, documents and other things received into evidence as exhibits, and any

facts on which the lawyers agree or which I may instruct you to accept.

           You should not take anything I may say or do during the trial as indicating what I think of

the believability or significance of the evidence or what your verdict should be.




1
    Adapted from First Circuit Pattern Criminal Jury Instruction 1.01.

                                                            2
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 3 of 69




                                     PRELIMINARY REQUEST NO. 2

                             Juror Oath – All Persons Equal Before the Law 2

           You must evaluate the evidence calmly and objectively, without prejudice or sympathy.

You must be completely fair and impartial. Your verdict must be based solely on the evidence

developed at this trial or the lack of evidence. Our system of justice cannot work unless you

reach your verdict through a fair and impartial consideration of the evidence. You may not

consider, in deciding the facts of the case, any personal feelings you may have about the religion,

occupation, race, national origin, sex, or age of any party or witness. You must regard the parties

as of equal standing in the community and of equal worth. All parties are entitled to the same

fair trial at your hands.




2
    Adapted from Sand, et al., Modern Federal Jury Instructions (Crim.), § 72-1.

                                                           3
         Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 4 of 69




                                  PRELIMINARY REQUEST NO. 3

                                            The Parties Involved 3

        The Securities Exchange Commission (“SEC”) is the plaintiff in this case. The SEC is an

independent agency of the federal government. It has the authority to file lawsuits alleging

violations of the federal securities laws. You should not give any weight to the SEC’s decision

to file this lawsuit. You should decide the case based solely on the evidence you will hear.

        The defendants are one individual, Fr. Emmanuel Lemelson, and two companies

Lemelson Capital Management LLC and the Amvona Fund, LP.

        You should consider this case as a dispute between people of equal standing in the

community, of equal worth, and holding the same or similar stations in life. An individual is

entitled to the same fair trial as a government agency, and a government agency is entitled to the

same fair trial as an individual. All persons, including individuals and government agencies,

stand equal before the law, and are to be treated as equals.




3
 Adapted from O’Malley, et al., Federal Jury Practice and Instructions § 103.12; First Circuit Pattern Criminal
Jury Instruction 1.02.

                                                         4
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 5 of 69




                                     PRELIMINARY REQUEST NO. 4

                               Defendants Charged Only with Specific Acts 4

           You are here to decide whether the SEC has met its burden of proof that Fr. Lemelson,

Lemelson Capital Management LLC, or the Amvona Fund, LP are liable under the counts

alleged in the Complaint. Fr. Lemelson, Lemelson Capital Management LLC, and the Amvona

Fund, LP are not on trial for any act, or any conduct not specifically referenced in the Complaint.




4
    Adapted from O’Malley, et al., Federal Jury Practice and Instructions § 12.09.

                                                           5
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 6 of 69




                                     PRELIMINARY REQUEST NO. 5

                                                 The Complaint 5

           The SEC alleges that Fr. Lemelson and Lemelson Capital Management committed fraud

in connection with the purchase or sale of securities and violated the Investment Advisers Act.

           Fr. Lemelson and Lemelson Capital Management have denied these allegations asserted

by the SEC in its Complaint.

           The Complaint is not evidence of anything and you may not consider it as evidence that

Fr. Lemelson, Lemelson Capital Management, and the Amvona Fund are liable to the SEC. Fr.

Lemelson, Lemelson Capital Management, and the Amvona Fund begin this trial with a “clean

slate”—that is, with absolutely no evidence against them.




5
    Adapted from O’Malley, et al., Federal Jury Practice and Instructions §§ 13.04, 12.10.

                                                           6
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 7 of 69




                                      PRELIMINARY REQUEST NO. 6

                                                  Burden of Proof 6

           The SEC has the burden of proving its case by what is called a preponderance of the

evidence. That means that the SEC has to produce evidence that, considered in the light of all

the facts, leads you to believe that what it claims is more likely true than not. If the SEC fails to

meet this burden, the verdict must be for Fr. Lemelson, Lemelson Capital Management, and the

Amvona Fund.

           This burden of proof never shifts to the Defendants. Fr. Lemelson, Lemelson Capital

Management, and the Amvona Fund have no burden of obligation to present any evidence that

they are not liable. It is always the SEC’s burden to prove each of the elements of the counts by

a preponderance of the evidence. Fr. Lemelson and Lemelson Capital Management have the

right to rely upon the failure or inability of the SEC to establish by a preponderance of the

evidence any essential element of any of the claims alleged.




6
    Adapted from First Circuit Pattern Criminal Jury Instruction 1.02.

                                                            7
             Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 8 of 69




                                        PRELIMINARY REQUEST NO. 7

                                Preliminary Statement of Elements of Claims 7

           In order to help you follow the evidence, I will now give you a brief summary of the

elements of the alleged claims, each of which the SEC must prove by a preponderance of the

evidence to make its case.

           Fr. Lemelson is the Chief Investment Officer of Lemelson Capital Management, LLC.

Lemelson Capital Management, LLC is the general partner to the Amvona Fund, LP. Between

June 16, 2014 and August 22, 2014, Lemelson Capital Management, LLC authored a number of

reports analyzing a publicly traded company called Ligand Pharmaceuticals. Additionally, Fr.

Lemelson was interviewed on multiple occasions by an outlet named Benzinga, during which

interviews the analysis of Ligand Pharmaceuticals was discussed. The Amvona Fund held a

publicly-disclosed short position in Ligand Pharmaceuticals from June 16, 2014 through October

13, 2014. A short position is a technique used when an investor anticipates that the value of a

stock will decrease. Essentially, an investor who engages in short selling is betting that the stock

price will drop. The SEC has alleged that the Defendants made four fraudulent statements with

the intent to decrease Ligand Pharmaceutical’s stock price.

           It is permissible for an individual or firm to publish analysis of why they have taken a

short position in a company. Indeed, it is a common practice for individuals and firms to share

and publish their analysis about their investments, including short positions. It is also

permissible for individuals and firms to publish analysis about their positions with the intent that

other investors agree with their analysis and make similar investments that result in an individual

or firm making more money on their own investment. It is only illegal when such analysis is


7
    First Circuit Pattern Instruction 1.04.

                                                     8
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 9 of 69




published with information that the author knows is false. In fact, the SEC has repeatedly stated

that short sellers provide important benefits to the financial markets.

           The first claim is for fraud in the purchase or sale of securities in violation of 15 U.S.C. §

77q(a) and 17 C.F.R. § 240.10b-5 (commonly referred to as Rule 10b-5). To prevail on its Rule

10b–5 claim, the SEC must prove by a preponderance of the evidence that Fr. Lemelson or

Lemelson Capital Management, LLC: (1) engaged in fraudulent conduct; (2) in connection with

the purchase or sale of securities; (3) through the means or instruments of transportation or

communication in interstate commerce or the mails; (4) with the intent to defraud or with

reckless disregard for the truth. 8

           In addition, to carry its burden to prove its Rule 10b-5 claim, the Commission must

establish that each of the four challenged statements was material. 9 A statement “is material if

there is a substantial likelihood that a reasonable investor would consider it important in deciding

whether or not to invest his money in a particular security.” 10 A statement is only material if it

“significantly altered the ‘total mix’ of information.” 11 The fact that “an investor might find

information interesting or desirable is not sufficient to satisfy the materiality requirement.” 12

           The second claim is for violation of Rule 206 of the Investment Advisers Act in violation

of 15 U.S.C. § 80b-6(4) and 17 C.F.R. § 275.206(4)-1. To prevail on its Investment Advisers

Act claim, the SEC must prove by a preponderance of the evidence that Fr. Lemelson or




8
    SEC v. Tambone, 417 F. Supp. 2d 127, 131 (D. Mass. 2006); 15 U.S.C. § 77q(a); 17 C.F.R. § 240.10b–5.
9
    Gross v. Summa Four, Inc., 93 F.3d 987, 992 (1st Cir. 1996) (superseded by statute on other grounds).
10
     SEC v. Fife, 311 F.3d 1, 9 (1st Cir. 2002) (citing Basic v. Levinson, 485 U.S. 224, 231-32 (1988)).
11
     Basic v. Levinson, 485 U.S. 224, 232 (1988).
12
     Milton v. Van Dorn, 961 F.2d 965, 969 (1st Cir. 1992).

                                                              9
        Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 10 of 69




Lemelson Capital Management, LLC was an investment adviser and made an untrue statement of

a material fact to an investor or prospective investor.

        You should understand that what I have just given you is only a preliminary outline of the

elements of the charges. At the end of the trial I will give you a final instruction on these matters

in more detail. If there is any difference between what I just told you, and what I tell you in the

instructions I give you at the end of the trial, the instructions given at the end of the trial govern.




                                                  10
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 11 of 69




                                       PRELIMINARY REQUEST NO. 8

                           Evidence; Objections; Rulings; Bench Conferences 13

           I have mentioned the word “evidence.” Evidence includes the testimony of witnesses,

documents and other things received as exhibits, and any facts that have been stipulated—that is,

formally agreed to by the parties.

           There are rules of evidence that control what can be received into evidence. When a

lawyer asks a question or offers an exhibit into evidence, and a lawyer on the other side thinks

that it is not permitted by the rules of evidence, that lawyer may object. This simply means that

the lawyer is requesting that I make a decision on a particular rule of evidence.

           Then it may be necessary for me to talk with the lawyers out of the hearing of the jury,

either by having a bench conference here while the jury is present in the courtroom, or by calling

a recess. Please understand that while you are waiting, we are working. The purpose of these

conferences is to decide how certain evidence is to be treated under the rules of evidence, and to

avoid confusion and error. We will, of course, do what we can to keep the number and length of

these conferences to a minimum.

           My rulings on the admissibility of evidence do not indicate any opinion about the weight

or effect of such evidence. You are the sole judges of the credibility of all witnesses and the

weight and effect of all evidence. 14

           Certain things are not evidence. I will list those things for you now:

           (1)      Statements, arguments, questions and comments by lawyers representing the

                    parties in the case are not evidence.



13
     Adapted from First Circuit Pattern Crim. Jury Instr. 1.05.
14
     This paragraph is from Sand, et al., Modern Federal Jury Instructions (Crim.), Instr. 2-8.

                                                            11
       Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 12 of 69




       (2)     Objections are not evidence. Lawyers have a duty to their client to object when

               they believe something is improper under the rules of evidence. You should not

               be influenced by the objection. If I sustain an objection, you must ignore the

               question or exhibit and must not try to guess what the answer might have been or

               the exhibit might have contained. If I overrule the objection, the evidence will be

               admitted, but do not give it special attention because of the objection.

       (3)     Testimony that I strike from the record, or tell you to disregard, is not evidence

               and must not be considered.

       (4)        Anything you see or hear about this case outside the courtroom is not evidence.

       (5)     The Complaint is not evidence.

       Furthermore, a particular item of evidence is sometimes received for a limited purpose

only. That is, it can be used by you only for a particular purpose, and not for any other purpose.

I will tell you when that occurs and instruct you on the purposes for which the item can and

cannot be used.

       Finally, some of you may have heard the terms “direct evidence” and “circumstantial

evidence.” Direct evidence is testimony by a witness about what that witness personally saw or

heard or did. Circumstantial evidence is indirect evidence; that is, it is proof of one or more facts

from which one can find or infer another fact. You may consider both direct and circumstantial

evidence. The law permits you to give equal weight to both, but it is for you to decide how much

weight to give to any evidence.




                                                 12
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 13 of 69




                                      PRELIMINARY REQUEST NO. 9

                                               Conduct of the Jury 15

           To insure fairness, you as jurors must obey the following rules:

           First, until this case is submitted to you after my final instructions, you must not discuss it

with your fellow jurors. Discussion can lead to conclusions being drawn or positions being taken

prematurely. Fairness requires you to keep an open mind about everything until your

deliberations;

           Second, do not talk with anyone else about this case, or about anyone who has anything

to do with it, until the trial has ended and you have been discharged as jurors. Do not discuss the

case with anyone else in person, in writing, by phone or by any electronic means, such as via text

messaging, e-mail, Facebook, Snapchat, LinkedIn, Twitter, blogging, any internet chat room, or

any other electronic social media. 16 “Anyone else” includes members of your family and your

friends. You may tell them that you are a juror, but do not tell them anything about the case until

after you have been discharged by me;

           Third, do not let anyone talk to you about the case or about anyone who has anything to

do with it, including by any electronic or social media. If someone should try to talk to you,

please report it to me immediately;

           Fourth, during the trial do not talk with or speak to any of the parties, lawyers or

witnesses involved in this case—you should not even pass the time of day with any of them. It is

important not only that you do justice in this case, but that you also give the appearance of doing

justice. If a person from one side of the case sees you talking to a person from the other side—


15
     Adapted from First Circuit Pattern Criminal Jury Instr. 1.07, with added references to social media.
16
  This sentence, dealing with social media, is adapted from 1 L. Sand, et al., Modern Federal Jury Instructions
(Crim.), Instr. 2-21.

                                                            13
         Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 14 of 69




even if it is simply to pass the time of day—an unwarranted and unnecessary suspicion about

your fairness might be aroused. If any lawyer, party or witness does not speak to you when you

pass in the hall, ride the elevator or the like, it is because they are not supposed to talk with you;

         Fifth, do not read any news stories or articles about the case or about anyone involved

with it, or listen to any radio or television reports about the case or about anyone involved with

it, or read any information or postings about this case on the internet or social media;

         Sixth, do not do any research on the internet about anything or anybody in the case, or

consult any blogs, websites, dictionaries or other reference materials. Do not make any

investigation about the case on your own. And do not look up anyone involved with the case on

the internet or any social media. You may only consider evidence presented to you in the

courtroom. You may not conduct any investigation on your own; nor may you engage in any

research on the law that might apply in this case. You have been chosen precisely because you

are impartial. As soon as you take on the role of investigator or lawyer, you become an advocate

and lose your ability to be impartial. You may not use outside electronic devices such as cell

phones or computers nor the internet, social media, news reports, maps, legal texts, or

dictionaries to learn things outside of what is presented here;

         Seventh, if you need to communicate with me simply give a signed note to the [court

security officer] to give to me; and

         Eighth, do not make up your mind about what the verdict should be until after you have

gone to the jury room to decide the case and you and your fellow jurors have discussed the

evidence. Keep an open mind until then. 17



17
  Defendants would request that this instruction (in substance) be repeated each day when the jury is excused so
they are reminded that they cannot talk about the case prematurely and cannot do outside research. Defendants also
request that the Court verify at the beginning of each trial day that the jurors have complied with this instruction.

                                                         14
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 15 of 69




                                      PRELMINARY REQUEST NO. 10

                                                    Note Taking 18

           If you want to take notes during the course of the trial, you may do so. If you do take

notes, be sure that your note-taking does not interfere with your listening to and considering all

of the evidence. Also, if you take notes, do not discuss them with anyone before or during your

deliberations. Your notes are to be used solely to assist you and are not to substitute for your

recollection of the evidence in the case. The fact that a particular juror has taken notes entitles

that juror’s views to no greater weight than those of any other juror and your notes are not to be

shown to any other juror during your deliberations. If, during your deliberations, you have any

doubt as to any of the testimony, you will be permitted to request that the official trial transcript

which is being made of these proceedings be read to you.




18
     Adapted from 1 L. Sand et al., Modern Federal Jury Instructions (Crim.), Instr. 1-3.

                                                           15
         Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 16 of 69




                                  PRELIMINARY REQUEST NO. 11

                                             Outline of the Trial 19

         The first step in the trial will be the opening statements. The SEC in its opening

statement will tell you about the evidence that it intends to put before you, so that you will have

an idea of what the SEC’s case is going to be.

         Just as the Complaint is not evidence, neither is the opening statement evidence. Its

purpose is only to help you understand what the evidence will be and what the SEC will try to

prove.

         After the SEC’s opening statement, the Defendants’ attorneys may make opening

statements. At this point in the trial, no evidence has been offered by either side.

         Next the SEC will offer evidence that it says will support the claims against the

Defendants. The SEC’s evidence in this case will consist of the testimony of witnesses, and may

include documents and other exhibits.

         After the SEC’s evidence, the Defendants’ lawyers may present evidence on the

Defendants’ behalf, but they are not required to do so. I remind you that the Defendants never

have the burden of proof, and the SEC must prove the liability of each Defendant by a

preponderance of the evidence.

         After you have heard all the evidence on both sides, the SEC and the Defendants will

each be given time for their final arguments. I just told you that the opening statements by the

lawyers are not evidence. The same applies to the closing arguments. They are not evidence




19
  Adapted from First Circuit Pattern Criminal Jury Instr. 1.09. (Reference to additional instruction on the nature of
evidence is omitted).

                                                         16
       Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 17 of 69




either. In their closing arguments the lawyers for the SEC and Defendants will attempt to

summarize and help you understand the evidence that was presented.

       The final part of the trial occurs when I instruct you about the rules of law that you are to

use in reaching your verdict. After hearing my instructions, you will leave the courtroom

together to make your decisions. Your deliberations will be secret. You will never have to

explain your verdict to anyone.




                                                17
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 18 of 69




II.        FINAL INSTRUCTIONS—AT CLOSE OF TRIAL

           Defendants respectfully submit the following proposed instructions to be given at the

close of trial.

                                                  REQUEST NO. 1

                              Duty of the Jury to Find Facts and Follow Law 20

           It is your duty to find the facts from all the evidence admitted in this case. To those facts

you must apply the law as I give it to you. The determination of the law is my duty as the

presiding judge in this court. It is your duty to apply the law exactly as I give it to you, whether

you agree with it or not. You must not be influenced by any personal likes or dislikes, prejudices

or sympathy. That means that you must decide the case solely on the evidence before you and

according to the law. You will recall that you took an oath promising to do so at the beginning

of the case.

           In following my instructions, you must follow all of them and not single out some and

ignore others; they are all equally important. You must not read into these instructions, or into

anything I may have said or done, any suggestions by me as to what verdict you should return—

that is a matter entirely for you to decide.




20
     First Circuit Pattern Criminal Jury Instruction 3.01.

                                                             18
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 19 of 69




                                                 REQUEST NO. 2

                             Juror Oath – All Persons Equal Before the Law 21

           You must evaluate the evidence calmly and objectively, without prejudice or sympathy.

You must be completely fair and impartial. Your verdict must be based solely on the evidence

developed at this trial or the lack of evidence. Our system of justice cannot work unless you

reach your verdict through a fair and impartial consideration of the evidence. You may not

consider, in deciding the facts of the case, any personal feelings you may have about the religion,

occupation, race, national origin, sex, or age of any party or witness. You must regard the parties

as of equal standing in the community and of equal worth. All parties are entitled to the same

fair trial at your hands.




21
     Adapted from 1 L. Sand et al., Modern Federal Jury Instructions (Crim.), Instr. 72-1.

                                                           19
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 20 of 69




                                                REQUEST NO. 3

                                                 The Complaint 22

           The SEC alleges that Fr. Lemelson and Lemelson Capital Management committed fraud

in connection with the purchase or sale of securities and violated the Investment Advisers Act.

The SEC also alleges that because of the alleged fraud in connection with the purchase or sale of

securities and violations of the Investment Advisers Act, the Amvona Fund was unjustly

enriched.

           Fr. Lemelson, Lemelson Capital Management, and the Amvona Fund have denied these

allegations asserted by the SEC in its Complaint.

           The Complaint is not evidence of anything and you may not consider it as evidence that

Fr. Lemelson, Lemelson Capital Management, and the Amvona Fund are liable to the SEC.




22
     Adapted from O’Malley, et al., Federal Jury Practice and Instructions §§ 13.04, 12.10.

                                                          20
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 21 of 69




                                                REQUEST NO. 4

                               Defendants Charged Only with Specific Acts 23

           You are here to decide whether the SEC has met its burden of proof that Fr. Lemelson,

Lemelson Capital Management LLC, or the Amvona Fund, LP are liable under the counts

alleged in the Complaint. Fr. Lemelson, Lemelson Capital Management LLC, and the Amvona

Fund, LP are not on trial for any act, or any conduct not specifically referenced in the Complaint.




23
     Adapted from O’Malley, et al., Federal Jury Practice and Instructions § 12.09.

                                                          21
         Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 22 of 69




                                               REQUEST NO. 5

                                        The Government as a Party 24

         You are to perform the duty of finding the facts without bias or prejudice as to any party.

You are to perform your final duty in an attitude of complete fairness and impartiality.

         The fact that the plaintiff in this case is the United States Securities and Exchange

Commission, an independent agency of the federal government, entitles the SEC to no greater

consideration than that accorded to any other party to a litigation. By that same token, it is

entitled to no less consideration. All parties, whether government or individuals, stand as equals

at the bar of justice.

         You should not give any weight to the SEC’s decision to file this lawsuit. You should

decide this case based solely on the evidence you will hear.

         You should consider this case as a dispute between persons of equal standing in the

community, of equal worth, and holding the same or similar stations in life. An individual,

including a corporation, is entitled to the same fair trial as a government agency, and a

government agency is entitled to the same fair trial as an individual. All persons, including

individuals and government agencies, stand equal before the law, and are to be treated as equals.




24
   Adapted from 1 L. Sand et al., Modern Federal Jury Instructions (Crim.), Instr. 2-5; O’Malley, et al., Federal
Jury Practice and Instructions § 103.12.

                                                         22
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 23 of 69




                                                 REQUEST NO. 6

                                                 Burden of Proof 25

           The SEC has the burden of proving its case by what is called a preponderance of the

evidence. That means that the SEC has to produce evidence that, considered in the light of all

the facts, leads you to believe that what it claims is more likely true than not. If the SEC fails to

meet this burden, the verdict must be for Fr. Lemelson, Lemelson Capital Management, and the

Amvona Fund.

           This burden of proof never shifts to the Defendants. Fr. Lemelson, Lemelson Capital

Management, and the Amvona Fund have no burden of obligation to present any evidence that

they are not liable. It is always the SEC’s burden to prove each of the elements of the counts by

a preponderance of the evidence. Fr. Lemelson, Lemelson Capital Management, and the

Amvona Fund have the right to rely upon the failure or inability of the SEC to establish by a

preponderance of the evidence any essential element of any of the claims alleged.




25
     Adapted from First Circuit Pattern Criminal Jury Instruction 1.02.

                                                           23
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 24 of 69




                                                 REQUEST NO. 7

                                               Conduct of Counsel 26

           Attorneys for both sides are officers of the Court. They each have important professional

roles, and they both adhere to the same standards of honesty and professional conduct.

           In this trial, you should consider only the evidence. You should not consider the

performance of the attorneys, or hold the performance of the attorneys for or against either party.

           It is the duty of the attorney for each side of a case to object when the other side offers

testimony or other evidence that the attorney believes is not properly admissible. Counsel also

have the right and duty to ask the Court to make rulings of law and to request conferences at the

side bar out of the hearing of the jury. All those questions of law were decided by me, the Court.

You should not show any prejudice against an attorney or his client because the attorney

objected to the admissibility of evidence, or asked for a conference out of the hearing of the jury

or asked the Court for a ruling on the law.

           As I already indicated, my rulings on the admissibility of evidence do not indicate any

opinion about the weight or effect of such evidence. You are the sole judges of the credibility of

all witnesses and the weight and effect of all evidence.




26
     Adapted from 1 L. Sand, et al., Modern Federal Jury Instructions (Crim.), Instr. 2-8.

                                                           24
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 25 of 69




                                                   REQUEST NO. 8

                                          What is Evidence; Inferences 27

           The evidence from which you are to decide what the facts are consists of sworn

testimony of witnesses, both on direct and cross-examination, regardless of who called the

witness; the exhibits that have been received into evidence; [if applicable: and any facts to

which the lawyers have agreed or stipulated. A stipulation means simply that the SEC and the

Defendants accept the truth of a particular proposition or fact. Since there is no disagreement,

there is no need for evidence apart from the stipulation. You must accept the stipulation as fact

to be given whatever weight you choose.]

           Although you may consider only the evidence presented in the case, you are not limited

in considering that evidence to just the words in the statements made by the witnesses or

contained in the documents. In other words, you are not limited solely to what you see and hear

as the witnesses testify. You are permitted to draw from facts that you find to have been proven

such reasonable inferences as you believe are justified in the light of common sense and personal

experience.




27
     First Circuit Pattern Criminal Jury Instruction 3.04.

                                                             25
         Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 26 of 69




                                              REQUEST NO. 9

                           Kinds of Evidence: Direct and Circumstantial 28

        There are two kinds of evidence: direct and circumstantial. Direct evidence is direct

proof of a fact, such as testimony of an eyewitness that the witness saw something.

Circumstantial evidence is indirect evidence, that is proof of a fact or facts from which you could

draw the inference, by reason and common sense, that another fact exists, even though it has not

been proven directly. To give a simple example, suppose that when you came into the

courthouse today the sun was shining and it was a nice day, but the courtroom blinds were drawn

and you could not look outside. Then later, as you were sitting here, someone walked in with a

dripping wet umbrella and, soon after, somebody else walked in with a dripping wet raincoat.

Now, on our assumed facts, you cannot look outside of the courtroom and you cannot see

whether or not it is raining. So you have no direct evidence of that fact. But, on the combination

of the facts about the umbrella and the raincoat, it would be reasonable for you to infer that it had

begun to rain.

        That is all there is to circumstantial evidence. Using your reason and experience, you

infer from established facts the existence or nonexistence of some other fact. Please note,

however, that it is not a matter of speculation or guess: it is a matter of logical inference.

        You are entitled to consider both direct and circumstantial evidence. The law permits

you to give equal weight to both, but it is for you to decide how much weight to give to any

evidence.




28
  Adapted from First Circuit Pattern Criminal Jury Instruction 3.05; 1 L. Sand, et al., Modern Federal Jury
Instructions, Instr. 5-2.

                                                        26
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 27 of 69




                                                REQUEST NO. 10

                          Number of Witnesses and Uncontradicted Testimony 29

           The fact that one party calls more witnesses or introduces more evidence than the other

does not mean that you should necessarily find the facts in favor of the side offering the most

witnesses. By the same token, you do not have to accept the testimony of any witness who has

not been contradicted or impeached, if you find the witness not to be credible. You may decide,

because of the witness’s bearing and demeanor or because of the inherent improbability of his or

her testimony or for other proper reasons sufficient to you, that such testimony is not worthy of

belief. You must decide which witnesses to believe and which facts are true. To do this, you

must look at all the evidence, drawing on your own common sense and personal experience.

           Later on, I will discuss the criteria for evaluating credibility; for the moment, however,

you should keep in mind that the burden of proof is always on the SEC and a Defendant is not

required to call any witnesses or offer any evidence, and can rely solely on the SEC’s failure to

carry its burden of proof.




29
     Adapted from 1 L. Sand et al., Modern Federal Jury Instructions (Crim.), Instr. 4-3.

                                                           27
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 28 of 69




                                                  REQUEST NO. 11

             Cautionary and Limiting Instructions as to Particular Kinds of Evidence 30

           A particular item of evidence is sometimes received for a limited purpose only. That is, it

can be used by you only for one particular purpose, and not for any other purpose. I have told

you when that occurred, and instructed you on the purposes for which the item can and cannot be

used.




30
     First Circuit Pattern Criminal Jury Instruction 3.07.

                                                             28
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 29 of 69




                                                  REQUEST NO. 12

                                               What Is Not Evidence 31

           Certain things are not evidence. I will list them for you:

           1.        Arguments and statements by lawyers are not evidence. The lawyers are not

witnesses. What they say in their opening statements, closing arguments and at other times is

intended to help you interpret the evidence, but it is not evidence. If the facts as you remember

them from the evidence differ from the way the lawyers have stated them, your memory of them

controls.

           2.        Questions and objections by lawyers are not evidence. Lawyers have a duty to

their clients to object when they believe a question is improper under the rules of evidence. You

should not be influenced by the objection or by my ruling on it.

           3.        Anything that I have excluded from evidence or ordered stricken and instructed

you to disregard is not evidence. You must not consider such items.

           4.        Anything you may have seen or heard when the court was not in session is not

evidence. You are to decide the case solely on the evidence received at trial.

           5.        The Complaint is not evidence. I caution you, as I have before, that the fact that

the SEC has filed a complaint against Fr. Lemelson, Lemelson Capital Management, and the

Amvona Fund is no evidence whatsoever that any of them acted improperly or are liable in any

way. The Complaint is simply allegations. It is the means by which the allegations and claims

of the government are brought before this court. The Complaint proves nothing.




31
     First Circuit Pattern Criminal Jury Instruction 3.08.

                                                             29
       Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 30 of 69




                                      REQUEST NO. 13

                                     Claims and Defenses

       I will now begin instructing you on each of the SEC’s three claims. I will explain them

one at a time.

       The First Claim is based on an allegation that Fr. Lemelson and Lemelson Capital

Management violated Section 10(b) of the Securities Exchange Act of 1934, which I will refer to

as the Exchange Act, and SEC Rule 10b-5.

       The Second Claim is based on an allegation that Fr. Lemelson and Lemelson Capital

Management violated Section 206(4) of the Investment Advisers Act.

       Fr. Lemelson and Lemelson Capital Management deny all of the allegations against each

of them.




                                              30
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 31 of 69




                                                REQUEST NO. 14

                                            Elements of the Claims 32

           I am going to explain the elements of each of the SEC’s claims. An element is a

precondition that the SEC has to prove in order to prevail on a claim. This means that the SEC

has to prove each and every element of each claim by a preponderance of the evidence. You are

going to be given a jury verdict form. On that form, you are to state your verdict separately as to

each defendant as to each of the claims. On each claim, if you have found that the SEC has

proven each of the elements of that claim against a particular defendant, then you are to find in

favor of the SEC on that claim. If you find that the SEC has not proven any one of the elements

of that claim by a preponderance of the evidence, then you are to find for the defendant on that

claim.

           Because the SEC has to prove each of the elements of each claim by a preponderance of

the evidence, the failure to prove any one element of a claim against a particular defendant by a

preponderance of the evidence means that the SEC has not carried its burden of proof.




32
     Adapted from O’Malley, et al., Federal Jury Practice and Instructions § 104.01.

                                                          31
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 32 of 69




                                               REQUEST NO. 15

       First Claim – Elements of a Section 10(b) of the Exchange Act and Rule 10b-5 Claim

           The SEC’s first claim is asserted against Fr. Lemelson and Lemelson Capital

Management under Section 10(b) of the Exchange Act and Rule 10b-5.

           In order to meet its burden of proving that Fr. Lemelson and Lemelson Capital

Management violated Section 10(b) of the Exchange Act and Rule 10b-5, the SEC must establish

by a preponderance of the evidence that Fr. Lemelson or Lemelson Capital Management:

           (1) Employed a device, scheme, or artifice to defraud; or made an untrue statement of

               material fact or omitted to state a material fact that made what was said, under the

               circumstances, misleading; or engaged in an act, practice or course of business which

               operated as a fraud or deceit upon any person.

           (2) In connection with the purchase or sale of securities;

           (3) Through the means or instruments of transportation or communication in interstate

               commerce or the mails;

           (4) With the requisite scienter (also known as “state of mind”). 33

           I will now discuss each of these four elements.




33
     SEC v. Tambone, 417 F. Supp. 2d 127, 131 (D. Mass. 2006); 15 U.S.C. § 77q(a); 17 C.F.R. § 240.10b–5.

                                                         32
         Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 33 of 69




                                             REQUEST NO. 16

                              A Device, Scheme, or Artifice to Defraud 34

        As to the first element, a “device, scheme or artifice to defraud,” as used in these

instructions, means the forming of some invention, contrivance, plan, or design to defraud, either

by a deliberate misstatement of a material fact or a deliberate omission of a material fact by one

with a legal duty to disclose that fact.

        To defraud means to act intentionally for the purpose of cheating someone out of money

or something of value. A scheme to defraud need not succeed, but it must be one that

contemplated causing economic harm to another.

        Therefore, to satisfy the first element of its Rule 10b-5 claim against Fr. Lemelson and

Lemelson Capital Management, the SEC must prove by a preponderance of the evidence that Fr.

Lemelson or Lemelson Capital Management (1) made a false or misleading statement, or omitted

to state a fact which made what was said, under the circumstances, misleading; and (2) the

misstatement or omission involved a “material” fact, which I will define in a moment.

                                          Misstatement or Omission

        A misstatement is a statement that was false or misleading when it was made. An

omission is a failure to disclose a fact that needed to be disclosed to keep the statements that

were actually made from being misleading.



34
  SEC v. Tambone, 417 F. Supp. 2d 127, 131-34 (D. Mass. 2006); Gross v. Summa Four, Inc., 93 F.3d 987, 992 (1st
Cir. 1996) (superseded by statute on other grounds); Goldberg v. Meridor, 567 F.2d 209, 220 (2d Cir. 1977); SEC v.
Fife, 311 F.3d 1, 9 (1st Cir. 2002); Basic v. Levinson, 485 U.S. 224, 231-32 (1988); Milton v. Van Dorn, 961 F.2d
965, 969 (1st Cir. 1992); In Re Xcelera.com Securities Litig., 430 F.3d 503, 507 (1st Cir. 2005); Emerson v.
Genocea Biosciences, Inc., 353 F. Supp. 3d 28, 41 (D. Mass. 2018) (Saris, J.); In re Biogen Sec. Litig., 179 F.R.D.
25, 35 (D. Mass. 1997) ((Saris, J.); Brumbaugh v. Wave Systems Corp., 416 F. Supp. 2d 239, 254-55 (D. Mass.
2006); In re Burlington Coat Factory Securities Litig., 114 F.3d 1410, 1425 (3d Cir. 1997)); Oran v. Stafford, 226
F.3d 275, 282 (3d Cir. 2000) SEC v. Berlacher, No. 07-3800, 2010 WL 3566790, at *7 (E.D. Pa. Sept. 13, 2010);
Rodriguez-Ortiz v. Margo Caribe, Inc., 490 F.3d 92, 97 (1st Cir. 2002); In re The First Marblehead Corp. Sec.
Litig., 639 F. Supp. 2d 145, 160 (D. Mass. 2009).

                                                        33
       Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 34 of 69




       Allegations that Fr. Lemelson or Lemelson Capital Management should have anticipated

future events and made certain disclosures earlier than they actually did do not suffice to make

out a claim of securities fraud. Lack of clairvoyance does not constitute securities fraud.

       Under the law, Fr. Lemelson and Lemelson Capital Management were not required to

disclose every piece of information they possessed. But Fr. Lemelson and Lemelson Capital

Management would have had a duty to disclose a material fact if a prior or contemporaneous

statement he or it made about the same subject would be misleading if the fact were not

disclosed.

       If you find that the SEC failed to prove by a preponderance of the evidence that Fr.

Lemelson or Lemelson Capital Management made a fraudulent statement, then you must find Fr.

Lemelson and Lemelson Capital Management not liable.

                                 Publication of Financial Analysis

       It is permissible for an individual or firm to publish analysis of why they have taken a

short position in a company. Indeed, it is a common practice for individuals and firms to share

and publish their analysis about their investments, including short positions. It is also

permissible for individuals and firms to publish analysis about their positions with the intent that

other investors agree with their analysis and make similar investments that result in an individual

or firm making more money on their own investment. It is only illegal when such analysis is

published with information that the author knows is false. In fact, the SEC has repeatedly stated

that short sellers provide important benefits to the financial markets.

                                            Materiality

       If you find that the SEC has established by a preponderance of the evidence that a

misstatement or omission was made by Fr. Lemelson or Lemelson Capital Management, you



                                                 34
         Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 35 of 69




must next determine whether the misstatement or omission was “material” under the

circumstances. A material fact is one that would have been significant to a reasonable investor’s

investment decisions. Material information is not any and all additional information that a

particular investor might have liked to have had. It is not sufficient that a particular investor

might have considered the misrepresentation or omission important, or something that he or she

would have preferred to have known. Insignificant or trivial misstatements are not material.

Stated another way, the mere fact that an investor might find information interesting or desirable

is not sufficient to make it material.

        Rather, in considering whether an allegedly untrue statement was material, you must

determine whether such statement would have significantly altered the total mix of information

available to a reasonable investor. There is no bright line test for materiality. Whether or not an

alleged untrue statement or misleading omission is material depends on all of the relevant

circumstances existing at the time the statements were made.

        Relevant circumstances include disclosures made about any potential bias from the maker

of the statement, citation to publicly available information that form the basis of the statement,

the context in which the statement is made, and the impact on the stock price or lack thereof.

Specifically, with regard to stock price, in a case like the present where the SEC has alleged

fraud on the market in connection with a public company, the SEC is obligated to produce

evidence to show by a preponderance of the evidence that the alleged false statements caused a

decrease in the stock price. 35



35
  In Re Xcelera.com Securities Litig., 430 F.3d 503, 507 (1st Cir. 2005); Emerson v. Genocea Biosciences, Inc., 353
F. Supp. 3d 28, 41 (D. Mass. 2018) (Saris, J.); In re Biogen Sec. Litig., 179 F.R.D. 25, 35 (D. Mass. 1997);
Brumbaugh v. Wave Systems Corp., 416 F. Supp. 2d 239, 254-55 (D. Mass. 2006); In re Burlington Coat Factory
Securities Litig., 114 F.3d 1410, 1425 (3d Cir. 1997); Oran v. Stafford, 226 F.3d 275, 282 (3d Cir. 2000); SEC v.
Berlacher, No. 07-3800, 2010 WL 3566790, at *7 (E.D. Pa. Sept. 13, 2010).

                                                        35
        Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 36 of 69




                                            REQUEST NO. 17

                      In Connection with the Purchase or Sale of Securities 36

        If you find that the SEC failed to prove the first element (that Fr. Lemelson or Lemelson

Capital Management made a fraudulent statement that was material) by a preponderance of the

evidence, then you must find Fr. Lemelson and Lemelson Capital Management not liable.

        If you find that the SEC proved by a preponderance of the evidence that Fr. Lemelson or

Lemelson Capital Management made a fraudulent statement that was material, then you must

next determine if the statement was made in connection with the purchase or sale of securities.

        To show that conduct is “in connection with the purchase or sale of securities,” the SEC

does not have to show that an investor actually relied upon any misrepresentation by Fr.

Lemelson or Lemelson Capital Management, but it does have to show that there was something

upon which the investor could have relied. In other words, statements made after a purchase had

already occurred or which were never communicated to an investor cannot satisfy the “in

connection with” element of Section 10(b) and Rule 10b-5.




36
  Basic v. Levinson, 485 U.S. 224, 261 (1988); Blue Chip Stamps v. Manor Drug Stores, 421 U.S. 723, 736 n.8
(1975).

                                                      36
        Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 37 of 69




                                           REQUEST NO. 18

                     Through the Means or Instrument of Transportation or
                     Communication in Interstate Commerce or the Mails 37

        The third element (that the misstatement was through the means or instrument of

transportation or communication in interstate commerce or the mails) has been stipulated to by

the parties and you should move on to the fourth element - scienter.




37
  15 U.S.C. § 78c(a)(17); SEC v. Spinosa, 31 F. Supp. 3d 1371 (S.D. Fla. 2014); SEC v. Reynolds, 1:06-CV1801-
RWS, 2010 WL 3943729 (N.D. Ga. Oct. 5, 2010); Gower v. Cohn, 643 F.2d 1146 (5th Cir. 1981); Carran v.
Morgan, 510 F. Supp. 2d 1053 (S.D. Fla. 2007); SEC v. GMC Holding Corp., 608-CV-275-ORL-28KRS, 2009 WL
506872 (M.D. Fla. Feb. 27, 2009).

                                                     37
         Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 38 of 69




                                              REQUEST NO. 19

                                       With the Requisite Scienter 38

         Scienter is simply a Latin word for state of mind. To prove a claim for violation of Rule

10b-5, the SEC must prove that Fr. Lemelson or Lemelson Capital Management made an

allegedly fraudulent statement knowingly or with reckless disregard for the truth.

         A person acts knowingly if he acts intentionally and voluntarily, and not because of

ignorance, mistake, accident, or carelessness. Whether the defendant acted knowingly may be

proven by the defendant’s conduct and by all of the facts and circumstances surrounding the

case.

         Reckless disregard for the truth must be a highly unreasonable omission or

misrepresentation. It involves not merely simple or even inexcusable negligence, but is closer to

being a lesser form of intentional conduct. It requires an extreme departure from the standards of

ordinary care, and presents a danger of misleading buyers or sellers that is either known to the

defendant or is so obvious the defendants must have been aware of it.

         All of the facts and circumstances surrounding the case include things such as disclosures

made accompanying the statements, the timing of any purchase or sale of the securities by the

individual or entity making the statements, and publishing statements in one’s own name as

opposed to anonymously or using a fake name.




38
  Adapted from 1 L. Sand, et al., Modern Federal Jury Instructions, Instr. 3A-1; American Bar Association, Model
Jury Instructions: Securities Litigation; Fire and Police Pension Ass’n of Colo. v. Abiomed, Inc., 778 F.3d 228, 240
(1st Cir. 2015); Greebel v. FTP Software, Inc., 194 F.3d 185, 188 (1st Cir. 1999); Novak v. Kasaks, 216 F.3d 300,
312 (2d Cir. 2000); In re Longtop Fin. Techs. Ltd. Sec. Litig., 910 F. Supp. 2d 561, 577 (S.D.N.Y. 2012); Aurelius v.
Bofl Fed. Bank, No. MC 16–71 DSF (FFM), 2016 WL 8925145, at *3 (C.D. Cal. Sept. 20, 2016); Mehta v. Ocular
Therapeutix, Inc., 955 F.3d 194, 208 (1st Cir. 2020); Abiomed, Inc., 778 F.3d at 243-44; City of Dearborn Heights
Act 345 Police & Fire Retirement Sys. v. Waters Corp., 632 F.3d 751, 760 (1st Cir. 2011).

                                                         38
       Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 39 of 69




       If, and only if, you find that the SEC has proven all four elements by a preponderance of

evidence can you find that Fr. Lemelson or Lemelson Capital Management violated Rule 10b-5.

       If you find that the SEC has failed to prove any of the four elements by a preponderance

of evidence, then you must fund Fr. Lemelson and Lemelson Capital Management not liable.




                                               39
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 40 of 69




                                                 REQUEST NO. 20

                                                    Good Faith 39

           Good faith is a complete defense to the Rule 10b-5 claim in this case. A statement made

with good faith belief in its accuracy does not amount to a false statement and does not give rise

to liability. This is so even if the statement is, in fact, erroneous.




39
     Adapted from 1 L. Sand, et al., Modern Federal Jury Instructions, Instr. 8-1.

                                                           40
        Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 41 of 69




                                             REQUEST NO. 21

                                            First Amendment 40

        The First Amendment protects the freedom of expression. The First Amendment’s

protection of free expression applies to statements analyzing securities. A defendant can only be

liable to the extent a statement was both objectively false and not believed by the defendant at

the time it was expressed. Therefore, the SEC must prove by a preponderance of the evidence

both that Fr. Lemelson or Lemelson Capital Management made a statement that he or it

subjectively did not believe (that means the person who made the statement did not believe t was

accurate or truthful when stated) and that the statement was objectively false (that means in

reality the statement was actually inaccurate).

        Further, the First Amendment even protects false opinions when the bases for those

opinions are disclosed.

        Therefore, for Fr. Lemelson or Lemelson Capital Management to be liable for the Rule

10b-5 claims here, the SEC must prove by a preponderance of the evidence that (1) Fr. Lemelson

or Lemelson Capital Management did not subjectively believe in the truth of their statements

when they were made; (2) that the statements were false; and (3) that the bases for the allegedly

false statements were not disclosed. If the SEC failed to prove any of those items by a

preponderance of the evidence, then the statements were protected by the First Amendment, and

you must find Fr. Lemelson and Lemelson Capital Management not liable.



40
  U.S. Const. Amend. I; Lowe v. SEC, 472 U.S. 181, 210 n.58 (1985); Fait v. Regions Fin. Corp., 655 F.3d 105, 110
(2d Cir. 2011); Virginia Bankshares v. Sandberg, 501 U.S. 1083, 1095-96 (1991); MHC Mut. Conversion Fund v.
Sandler O’Neill Partners, L.P., 761 F.3d 1109, 1113 (10th Cir. 2014); Mayer v. Mylod, 988 F.2d 635, 639 (6th Cir.
1993); Partington v. Bugliosi, 56 F.3d 1147, 1156 (9th Cir. 1995); Silvercorp Metals Inc. v. Anthion Mgmt., LLC,
959 N.Y.S.2d 92, *9 (Sup. Ct. 2012); Agora, Inc. v. Axxess, Inc., 90 F. Supp. 2d 697, 704 (D. Md. 2000); Chapin v.
Knight-Ridder, Inc., 993 F.2d 1087, 1093 (4th Cir. 1993); Moldea v. New York Times Co., 15 F.3d 1137, 1144–45
(D.C. Cir.1994); Phantom Touring, Inc. v. Affiliated Publications, 953 F.2d 724, 731 n.13 (1st Cir. 1992).

                                                       41
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 42 of 69




                                               REQUEST NO. 22

     Second Claim – Elements of a Section 206(4) Violation of the Investment Advisers Act 41

           The SEC’s second claim is asserted against Fr. Lemelson and Lemelson Capital

Management under Section 206(4) of the Investment Advisers Act and Rule 206(4)-8.

           The premise of the SEC’s Investment Advisers Act claim is based on the alleged failure

of Fr. Lemelson and Lemelson Capital Management to disclose its violations of Rule 10b-5.

Therefore, if you find Fr. Lemelson and Lemelson Capital Management not liable for the first

claim (Rule 10b-5), then you must find Fr. Lemelson and Lemelson Capital Management not

liable for the second claim (Investment Advisers Act) as well.

           In order to meet its burden of proving that Fr. Lemelson and Lemelson Capital

Management violated Section 206(4) of the Investment Advisers Act and Rule 206(4)-8, the SEC

must establish by a preponderance of the evidence that Fr. Lemelson or Lemelson Capital

Management:

           (1) Was an investment adviser;

           (2) Made an untrue statement of a material fact or omitting to state a material fact

               necessary to make the statements made, in the light of the circumstances under which

               they were made, not misleading;

           (3) To an investor or prospective investor in the pooled investment vehicle.

           I will now discuss each of these three elements.




41
     15 U.S.C. § 80b-6(4); 17 C.F.R. § 275.206(4)-8.

                                                       42
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 43 of 69




                                         REQUEST NO. 23

                                       Investment Adviser 42

           “Investment Adviser” means any person who, for compensation, engages in the business

of advising others, either directly or through publications or writings, as to the value of securities

or as to the advisability of investing in, purchasing, or selling securities, or who, for

compensation and as part of a regular business, issues or promulgates analyses or reports

concerning securities.




42
     15 U.S.C. § 80b-2.

                                                  43
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 44 of 69




                                                REQUEST NO. 24

                                     Untrue Statement of Material Fact 43

           If you find that the SEC failed to prove the first element (that Fr. Lemelson or Lemelson

Capital Management was an investment adviser) by a preponderance of the evidence, then you

must find Fr. Lemelson and Lemelson Capital Management not liable.

           If you find that the SEC has proven the first element (that Fr. Lemelson or Lemelson

Capital Management was an investment adviser) by a preponderance of the evidence then, you

must next determine whether there was an untrue statement of a material fact.

           An untrue statement of material fact is any false statement regarding something that

would have been significant to a reasonable investor’s investment decisions. The same standard

for determining materiality in the context of Rule 10b-5 (discussed earlier) applies to

determining materiality for Investment Adviser Act claims. Material information is not any and

all additional information that a particular investor might have liked to have had. It is not

sufficient that a particular investor might have considered the misrepresentation or omission

important, or something that he or she would have preferred to have known. Insignificant or

trivial misstatements are not material. Stated another way, the mere fact that an investor might

find information interesting or desirable is not sufficient to make it material.

           Rather, in considering whether an allegedly untrue statement was material, you must

determine whether such statement would have significantly altered the total mix of information

available to a reasonable investor. There is no bright line test for materiality. Whether or not an

alleged untrue statement or misleading omission is material depends on all of the relevant

circumstances existing at the time the statements were made.


43
     Basic v. Levinson, 485 U.S. 224, 231-32 (1988); Milton v. Van Dorn, 961 F.2d 965, 969 (1st Cir. 1992).

                                                          44
        Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 45 of 69




                                       REQUEST NO. 25
                            To an Investor or Prospective Investor

       If you find that the SEC failed to prove the second element (that Fr. Lemelson or

Lemelson Capital Management made an untrue statement of a material fact) by a preponderance

of the evidence, then you must find Fr. Lemelson and Lemelson Capital Management not liable.

       If you find that the SEC has proven the first element (that Fr. Lemelson or Lemelson

Capital Management made an untrue statement of a material fact) by a preponderance of the

evidence then, you must next determine whether the statement was made to an investor or

prospective investor of a pooled investment vehicle.

       A pooled investment vehicle is an investment company that is or holds itself out as being

engaged primarily, or proposed to engage primarily, in the business of investing, reinvesting, or

trading in securities

       If, and only if, you find that the SEC has proven all three elements by a preponderance of

evidence can you find that Fr. Lemelson or Lemelson Capital Management violated Rule 206(4).

       If you find that the SEC has failed to prove any of the three elements by a preponderance

of evidence, then you must fund Fr. Lemelson and Lemelson Capital Management not liable.

And, as stated before, as the SEC’s Investment Advisers Act is based on the alleged failure of Fr.

Lemelson or Lemelson Capital Management to disclose its Rule 10b-5 violations, if you find Fr.

Lemelson and Lemelson Capital Management not liable for the first claim, then you must find

them not liable for the second claim (Investment Advisers Act).




                                                45
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 46 of 69




                                                 REQUEST NO. 26

                                            Credibility of Witnesses 44

           Whether the SEC has sustained its burden of proof does not depend upon the number of

witnesses it has called or upon the number of exhibits it has offered, but instead upon the nature

and quality of the evidence presented. You do not have to accept the testimony of any witness if

you find the witness not credible. You must decide which witnesses to believe and which facts

are true. To do this, you must look at all the evidence, drawing upon your common sense and

personal experience.

           In deciding what the facts are, you may have to decide what testimony you believe and

what testimony you do not believe. You may believe everything a witness says, part of it, or

none of it.

            You may want to take into consideration such factors as the witnesses’ conduct and

demeanor while testifying; their apparent fairness or any bias they may have displayed; the

quality of the witness’ memory or whether, given the passage of time or other factors, that it is

unlikely that the witness remembers a fact or facts as well as they claim to remember them; any

interest you may discern that they may have in the outcome of the case; any prejudice they may

have shown; their opportunities for seeing and knowing the things about which they have

testified; the reasonableness or unreasonableness of the events that they have related to you in

their testimony; any other facts or circumstances disclosed by the evidence that tend to

corroborate or contradict their versions of the events; and how reasonable the witness’ testimony

is when considered in light of other evidence which you believe.




44
     Adapted from First Circuit Pattern Criminal Jury Instruction 3.06.

                                                           46
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 47 of 69




                                                REQUEST NO. 27

                                     Number of Witnesses and Exhibits 45

           Sometimes jurors wonder if the number of witnesses who testified or number of exhibits

admitted makes any difference. Do not make any decisions based on the number of witnesses

who testified or the number of exhibits admitted. You should consider all the facts and

circumstances in evidence to determine which of the witnesses you choose to believe or not

believe. You may find the testimony of a smaller number of witnesses on an issue is more

credible than the testimony of a greater number of witnesses on the same issue. Remember that

Fr. Lemelson, Lemelson Capital Management, and the Amvona Fund have no obligation to

present any witnesses or evidence. The testimony of even a single witness may undermine the

SEC’s case.

           The burden of proof by preponderance of the evidence remains on the SEC at all times.

Indeed, you may find that the government has not met its burden of proof even if the defendants

have called no witnesses.




45
     Adapted from O’Malley, et al., Federal Jury Practice and Instructions § 104.54.

                                                          47
        Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 48 of 69




                                        REQUEST NO. 28

                                       Conflicting Evidence

       You have seen the witnesses and have heard them testify. It is your duty to reconcile all

the testimony of all the witnesses, both on direct and on cross-examination, with all of the facts,

if you are able to. If, after weighing the matter carefully, viewing it in light of your best

judgment as reasonable men and women, you find that you are unable to reconcile a conflict in

the testimony, then it is for you to say who has been mistaken, who has told the truth, who has

testified falsely, and whom you will believe. In other words, it is for you to determine which

testimony is most worthy of belief, and you may disregard any testimony which cannot be

reasonably and fairly reconciled therewith.




                                                  48
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 49 of 69




                                                REQUEST NO. 29

                               Evidence Permitting Alternative Conclusion 46

           A Defendant is never to be found liable on suspicion or conjecture. If, for example, you

view the evidence in the case as reasonably permitting either of two conclusions—one that Fr.

Lemelson, Lemelson Capital Management, and the Amvona Fund are liable, the other that they

are not liable—you must fund Fr. Lemelson, Lemelson Capital Management, and the Amvona

Fund not liable because the SEC has not met its burden of proof.




46
     United States v. Cleveland, 106 F.3d 1056, 1062-63 (1st Cir. 1997).

                                                           49
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 50 of 69




                                                REQUEST NO. 30

                                                Bias and Hostility 47

           In connection with your evaluation of the credibility of the witnesses, you should

specifically consider evidence of resentment or anger which some SEC witnesses may have

toward one or more of the Defendants.

           Evidence that a witness is biased, prejudiced, or hostile toward any Defendant requires

you to view that witness’s testimony with caution, to weigh it with care, and subject it to close

and searching scrutiny.




47
     Adapted from 1 L. Sand, et al., Modern Federal Jury Instructions, Instr. 7-2.

                                                           50
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 51 of 69




                                                 REQUEST NO. 31

                                Law Enforcement Witnesses (if applicable) 48

           You have heard the testimony of [insert names of law enforcement witnesses]. The fact

that a witness may be employed by the federal government as a law enforcement official or

employee does not mean that his or her testimony is necessarily deserving of more or less

consideration, or greater or lesser weight, than that of an ordinary witness.

           At the same time, it is quite legitimate for defense counsel to try to attack the credibility

of a law enforcement witness on the grounds that his or her testimony may be colored by a

personal or professional interest in the outcome of the case.

           It is your decision, after reviewing all the evidence, whether to accept the testimony of

the law enforcement witness and to give to that testimony whatever weight, if any, you find it

deserves.




48
     Adapted from 1 L. Sand, et al., Modern Federal Jury Instructions, Instr. 7-16.

                                                           51
         Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 52 of 69




                                             REQUEST NO. 32

                           Impeachment by Prior Inconsistent Statement 49

        The law treats prior inconsistent statements by witnesses differently depending on the

nature of the statements and the circumstances in which they were made. I will now explain how

you should evaluate those statements.

        You have heard evidence that some witnesses made a statement on an earlier occasion

and that this statement may be inconsistent with their testimony here at trial. It is for you to

decide whether the witness made such a statement and whether in fact it was inconsistent with

the witness’s testimony here. If you find such an inconsistency, you may consider the earlier

statement in judging the credibility of the witness, but you may not consider it as evidence that

what was said in the earlier statement was true.

        You have also heard evidence that some witnesses made an earlier statement under oath,

subject to the penalty of perjury at a prior proceeding, and that this statement may be inconsistent

with his or her testimony here at trial. If you find that the earlier statement is inconsistent with a

witness’s testimony here in court, you may consider this inconsistency in judging the credibility

of the witness. You may also consider this earlier statement as evidence that what was said in

the earlier statement was true.




49
  Adapted from Criminal Jury Instructions for the District of Columbia, Instr. 2.216, Parts A and B; see United
States v. Slough, No. 08-CR-360-RCL, ECF No. 625, at 9-10 (D.D.C. Sept. 2, 2014).



                                                        52
         Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 53 of 69




                                              REQUEST NO. 33

                                                  Spoliation 50

        If you find that Ligand destroyed or obliterated a document that it knew would be

relevant to a contested issue in this case and knew at the time it did so that there was a potential

for litigation, then you may infer (but you are not required to infer) that the contents of the

destroyed evidence were unfavorable to Ligand.




50
  Adapted from United States District of Maine 2019 Revisions to Pattern Criminal Jury Instructions for the District
Courts of the First Circuit, Instruction 2.13, (updated Jun. 24, 2019)
https://www.med.uscourts.gov/pdf/crpjilinks.pdf.

                                                        53
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 54 of 69




                                                REQUEST NO. 34

                                      Hearsay Testimony (if applicable) 51

           You have heard about a number of statements made outside of court by witnesses who

did not testify here in court. When a witness’s out-of-court statement has been admitted, that

witness’s credibility may be attacked, and if attacked may be supported, in the same manner as if

the witness had testified in court.




51
     See Fed. R. Evid. 806; Carver v. United States, 164 U.S. 694, 697 (1897).

                                                           54
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 55 of 69




                                                  REQUEST NO. 35

                                         Missing Witness (if applicable) 52

           If it is peculiarly within the power of the SEC to produce a witness who could give

material testimony, or if the witness would seemingly be favorably disposed to the SEC, failure

to call that witness may justify an inference that his/her testimony would be unfavorable to the

SEC. No such inference is justified if the witness is equally available or favorably disposed to

both parties or if the testimony would merely repeat other evidence.




52
     First Circuit Pattern Criminal Jury Instruction 2.12.

                                                             55
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 56 of 69




                                                 REQUEST NO. 36

      Opinion as to Character of Witness to Impeach Witness’s Credibility (if applicable) 53

           You have heard [name of witness] testify that in his opinion [name of other witness], one

of the other witnesses who testified, is an untruthful person. Since you are the sole judges of the

facts and the credibility of witnesses, you may consider such evidence in deciding whether or not

to believe the witness whose character for truthfulness has been questioned, giving such

character evidence whatever weight you deem appropriate.




53
     Adapted from 1 L. Sand, et al., Modern Federal Jury Instructions, Instr. 5-18.

                                                           56
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 57 of 69




                                                REQUEST NO. 37

                                           Stipulations 54 (if applicable)

           The evidence in this case includes the following facts to which the lawyers have agreed

or stipulated.

                    [Describe stipulation(s).]

           A stipulation means simply that the SEC and the Defendants accept the truth of a

particular proposition or fact. Since there is no disagreement, there is no need for evidence apart

from the stipulation. You must accept the stipulation as fact to be given whatever weight you

choose.




54
     Adapted from First Circuit Pattern Criminal Jury Instruction 2.01.

                                                           57
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 58 of 69




                                                  REQUEST NO. 38

                               Transcripts of Tape Recordings (if applicable) 55

           The SEC has been permitted to hand out a typed document that it prepared containing the

SEC’s interpretation of what appears on the tape recordings which have been received as

evidence. Those were given to you as an aid or guide to assist you in listening to the tapes.

However, they are not in and of themselves evidence. Therefore, when the tapes were played I

advised you to listen very carefully to the tapes themselves. You alone should make your own

interpretation of what appears on the tapes based on what you heard. If you think you heard

something differently than appeared on the transcript then what you heard is controlling.

           Let me say again, you, the jury are the sole judges of the facts.




55
     1 L. Sand, et al., Modern Federal Jury Instructions, Instr. 5-9.

                                                             58
         Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 59 of 69




                                              REQUEST NO. 39

                  Charts and Summaries (Admitted as Evidence) (if applicable) 56

         The SEC (or defense) has presented exhibits in the form of charts and summaries. I

decided to admit these charts and summaries in place of the underlying documents that they

represent in order to save time and avoid unnecessary inconvenience. You should consider these

charts and summaries as you would any other evidence.

         It is for you to decide whether the charts, schedules, or summaries correctly present the

information contained in the testimony and in the exhibits on which they were based. You are

entitled to consider the charts, schedules, and summaries if you find that they are of assistance to

you in analyzing and understanding the evidence.




56
   Adapted from 1 L. Sand et al., Modern Federal Jury Instructions (Crim.), Instr. 5-12; see United States v.
Milkiewicz, 470 F.3d 390, 395-98 (1st Cir. 2006).

                                                         59
         Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 60 of 69




                                              REQUEST NO. 40

               Charts and Summaries (Not Admitted as Evidence) (if applicable) 57

         The SEC (or defense) has presented exhibits in the form of charts and summaries. These

charts and summaries were shown to you in order to make the other evidence more meaningful

and to aid you in considering the evidence. They are no better than the testimony or the

documents upon which they are based, and are not themselves independent evidence. Therefore,

you are to give no greater consideration to these schedules or summaries than you would give to

the evidence upon which they are based.

         It is for you to decide whether the charts, schedules, or summaries correctly present the

information contained in the testimony and in the exhibits on which they were based. You are

entitled to consider the charts, schedules, and summaries if you find that they are of assistance to

you in analyzing and understanding the evidence.




57
   Adapted from 1 L. Sand et al., Modern Federal Jury Instructions (Crim.), Instr. 5-13; see United States v.
Milkiewicz, 470 F.3d 390, 395-98 (1st Cir. 2006).

                                                         60
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 61 of 69




                                               REQUEST NO. 41

                                             Markings on Exhibits

           Some of the exhibits in this case were stamped “confidential” or “redacted” or with

identification numbers and/or letters before being provided to the parties as part of the litigation

process. It is routine to stamp documents confidential or with identification numbers and/or

letters in the litigation process. You are to draw no inference from the fact that a document was

stamped confidential or with identification numbers and/or letters before being provided. 58




58
     Adapted from United States v. Forbes, No. 3:02 CR 264, at 65 (D. Conn. 2007).

                                                         61
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 62 of 69




                                                  REQUEST NO. 42

                                         Foreperson’s Role; Unanimity 59

           I come now to the last part of the instructions, the rules for your deliberations.

           When you retire you will discuss the case with the other jurors to reach agreement if you

can do so. You shall permit your foreperson to preside over your deliberations, and your

foreperson will speak for you here in court. Your verdict must be unanimous as to each

Defendant and as to each claim.




59
     First Circuit Pattern Criminal Jury Instruction 6.01.

                                                             62
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 63 of 69




                                                  REQUEST NO. 43

                                            Consideration of Evidence 60

           Your verdict must be based solely on the evidence and on the law as I have given it to

you in these instructions. However, nothing that I have said or done is intended to suggest what

your verdict should be. That is entirely for you to decide.




60
     First Circuit Pattern Criminal Jury Instruction 6.02.

                                                             63
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 64 of 69




                                                 REQUEST NO. 44

                                               Conduct of the Jury 61

           I remind you, as I have throughout the trial, that to insure fairness, you as jurors must

obey the following rules:

           First, do not talk among yourselves about this case, or about anyone involved with it,

until the end of the case when you go to the jury room to decide on your verdict;

           Second, do not talk with anyone else about this case, or about anyone who has anything

to do with it, until the trial has ended and you have been discharged as jurors. Do not discuss the

case with anyone else in person, in writing, by phone or by any electronic means, such as via text

messaging, e-mail, Facebook, LinkedIn, Twitter, blogging or any internet chat room, or any

other electronic social media. 62 “Anyone else” includes members of your family and your

friends. You may tell them that you are a juror, but do not tell them anything about the case until

after you have been discharged by me;

           Third, do not let anyone talk to you about the case or about anyone who has anything to

do with it, including by any electronic or social media. If someone should try to talk to you,

please report it to me immediately;

           Fourth, do not talk with or speak to any of the parties, lawyers or witnesses involved in

this case—you should not even pass the time of day with any of them. It is important not only

that you do justice in this case, but that you also give the appearance of doing justice. If a person

from one side of the case sees you talking to a person from the other side—even if it is simply to

pass the time of day—an unwarranted and unnecessary suspicion about your fairness might be



61
     Adapted from First Circuit Pattern Criminal Jury Instr. 1.07.
62
     Adapted from 1 L. Sand et al., Modern Federal Jury Instructions (Crim.), Instr. 2-21.

                                                            64
       Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 65 of 69




aroused. If any lawyer, party or witness does not speak to you when you pass in the hall, ride the

elevator or the like, it is because they are not supposed to talk with you;

       Fifth, do not read any news stories or articles about the case or about anyone involved

with it, or listen to any radio or television reports about the case or about anyone involved with

it, or read any information or postings about this case on the internet or social media;

       Sixth, do not do any research on the internet about anything or anybody in the case, or

consult any blogs, websites, books, dictionaries or other reference materials. Do not make any

investigation about the case on your own. And do not look up anyone involved with the case on

the internet or any social media;

       Seventh, if you need to communicate with me simply give a signed note to the [court

security officer] to give to me; and

       Eighth, do not make up your mind about what the verdict should be until after you have

gone to the jury room to decide the case and you and your fellow jurors have discussed the

evidence. Keep an open mind until then.




                                                 65
           Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 66 of 69




                                                 REQUEST NO. 45

                                              Reaching Agreement 63

           Each of you must decide the case for yourself, but you should do so only after

considering all the evidence, discussing it fully with the other jurors, and listening to the views of

the other jurors.

           Do not be afraid to change your opinion if you think you are wrong. But do not come to

a decision simply because other jurors think it is right.

           If it looks at some point as if you may have difficulty in reaching a unanimous verdict,

the jurors in both the majority and the minority should reexamine their positions to see whether

they have given careful consideration and sufficient weight to the evidence that has favorably

impressed the jurors who disagree with them. You should not hesitate to reconsider your views

from time to time and to change them if you are persuaded that this is appropriate.

           It is important that you attempt to return a verdict, but, of course, only if each of you can

do so after having made your own conscientious determination. Do not surrender an honest

conviction as to the weight and effect of the evidence simply to reach a verdict.




63
     Adapted from First Circuit Pattern Criminal Jury Instruction 6.03.



                                                           66
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 67 of 69




                                                  REQUEST NO. 46

                                              Return of Verdict Form 64

           I want to read to you now what is called the verdict form. This is simply the written

notice of the decision you will reach in this case.

           [Read form].

           After you have reached unanimous agreement on a verdict, your foreperson will fill in the

form that has been given to you, sign and date it, and advise the jury officer outside your door

that you are ready to return to the courtroom.

           After you return to the courtroom, your foreperson will deliver the completed verdict

form as directed in open court.




64
     First Circuit Pattern Criminal Jury Instruction 6.04.

                                                             67
            Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 68 of 69




                                                  REQUEST NO. 47

                                         Communication with the Court 65

           If it becomes necessary during your deliberations to communicate with me, you may send

a note through the jury officer signed by your foreperson or by one or more members of the jury.

No member of the jury should ever attempt to communicate with me on anything concerning the

case except by a signed writing, and I will communicate with any member of the jury on

anything concerning the case only in writing, or orally here in open court. If you send out a

question, I will consult with the parties as promptly as possible before answering it, which may

take some time. You may continue with your deliberations while waiting for the answer to any

question. Remember that you are not to tell anyone—including me—how the jury stands,

numerically or otherwise, until after you have reached a unanimous verdict or have been

discharged.

                                                                  Respectfully Submitted,

                                                                  REV. FR. EMMANUEL LEMELSON,
                                                                  LEMELSON CAPITAL MANAGEMENT,
                                                                  LLC, and THE AMVONA FUND, LP

                                                                  By: /s/ Douglas S. Brooks
                                                                  Douglas S. Brooks (BBO No. 636697)
                                                                  Brian J. Sullivan (BBO No. 676186)
                                                                  Thomas M. Hoopes (BBO No. 239340)
                                                                  LIBBY HOOPES BROOKS, P.C.
                                                                  399 Boylston Street
                                                                  Boston, MA 02116
                                                                  Tel.: (617)-338-9300
                                                                  dbrooks@lhblaw.com
                                                                  bsullivan@lhblaw.com
                                                                  thoppes@lhblaw.com

Dated: October 6, 2021


65
     First Circuit Pattern Criminal Jury Instruction 6.05.

                                                             68
       Case 1:18-cv-11926-PBS Document 176 Filed 10/06/21 Page 69 of 69




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-participants on October 6, 2021.

                                                             /s/ Douglas S. Brooks
                                                             Douglas S. Brooks




                                                 69
